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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

KUAN BARNETT,

       Plaintiff,

       v.                                                     Case No. 20-cv-298

RUSSELL GOLDSMITH,
MICHAEL THOMPSON,
TARA WOODRUFF,
CHRISTOPHER OLSON,
AUSTIN SCHLACHTER, and
BRIAN REYNOLDS,

      Defendants.
______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________

       Plaintiff Kuan Barnett, by and through his attorneys, the People’s Law Office and The

Shellow Group, for his complaint against Defendants Russell Goldsmith, Michael Thompson,

Tara Woodruff, Christopher Olson, Austin Schlachter, and Brian Reynolds, hereby alleges as

follows:

                                        INTRODUCTION

       1.       On October 26, 2018, Plaintiff Kuan Barnett, a prisoner at Columbia Correctional

Institution, was brutally beaten by prison guards Russell Goldsmith and Michael Thompson in

retaliation for spitting water at Goldsmith and another prison guard, Tara Woodruff. Goldsmith

and Thompson rushed into Plaintiff’s cell carrying a riot shield, knocked him to the ground,

punched, kneed and choked him, gouged his eyes and bent his fingers backwards, causing him

serious physical injuries. Woodruff facilitated the beating by opening Plaintiff’s cell so that

Goldsmith and Thompson could enter, knowing full well what they intended to do. Olson,
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Schlachter and Reynolds entered the cell while Plaintiff was being beaten but did nothing to

protect Plaintiff despite having the opportunity and duty to do so.

        2.      Following the beating, Goldsmith and Thompson lied to their supervisors and

wrote false reports to cover up their misconduct, but when body camera and other surveillance

video proved their stories to be false, they were both criminally charged with felonies and

subsequently pleaded guilty to reduced charges.

        3.      Plaintiff files this civil rights action to bring the Defendants’ misconduct to light,

to hold the Defendants’ accountable for their actions, and to seek justice for the injuries he

suffered.

                                  JURISDICTION AND VENUE

        4.      The jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42 §

1983; the judicial code, 28 U.S. §§ 1331 and 1343(a); and the Constitution of the United States.

        5.      Venue is proper in this District under 28 U.S.C. 1391(b). The events that are the

basis of these claims occurred in this judicial district.

                                               PARTIES

        6.      Plaintiff Kuan Barnett is currently incarcerated in the State of Wisconsin

Department of Corrections. At all times relevant to this complaint, he was incarcerated at the

Columbia Correctional Institution (CCI).

        7.      At all times relevant to this complaint, Defendant Russell Goldsmith was an

employee of the Wisconsin Department of Corrections and worked at CCI as a Correctional

Officer. He is being sued in his individual capacity.




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       8.      At all times relevant to this complaint, Defendant Michael Thompson was an

employee of the Wisconsin Department of Corrections and worked at CCI as a Correctional

Officer, holding the rank of Sergeant. He is being sued in his individual capacity.

       9.      At all times relevant to this complaint, Defendant Tara Woodruff was an

employee of the Wisconsin Department of Corrections and worked at CCI as a Correctional

Officer. She is being sued in her individual capacity.

       10.     At all times relevant to this complaint, Defendant Christopher Olson was an

employee of the Wisconsin Department of Corrections and worked at CCI as a Correctional

Officer, holding the rank of Lieutenant. He is being sued in his individual capacity.

       11.     At all times relevant to this complaint, Defendant Austin Schlachter was an

employee of the Wisconsin Department of Corrections and worked at CCI as a Correctional

Officer, holding the rank of Sergeant. He is being sued in his individual capacity.

       12.     At all times relevant to this complaint, Defendant Brian Reynolds was an

employee of the Wisconsin Department of Corrections and worked at CCI as a Correctional

Officer, holding the rank of Sergeant. He is being sued in his individual capacity.

                                             FACTS

       13.     On October 25, 2018, while Mr. Barnett was locked in his cell, he spit water at

Defendant Goldsmith through the trap box of his cell.

       14.     In response, Defendant Goldsmith threatened Mr. Barnett, stating that Mr. Barnett

was a “dead man” and that he was going to take Mr. Barnett’s head off.

       15.     The following day, October 26, 2018, Mr. Barnett spit water at Defendant

Woodruff through the trap box of his cell.




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        16.      Defendant Woodruff left and returned to Mr. Barnett’s cell with Defendant

Goldsmith and the two of them placed sheets over the trap box of his cell. Defendant Goldsmith

told Mr. Barnett that it was “going to be a rough night” for him and then left the area.

        17.      Shortly thereafter, Defendant Goldsmith returned to the front of Mr. Barnett’s

cell, this time accompanied by Defendant Thompson.

        18.      Defendant Woodruff activated a device to open Mr. Barnett’s cell door in order to

allow Defendants Goldsmith and Thompson to enter and physically attack him in retaliation for

spitting.

        19.      Defendant Goldsmith entered the cell first, carrying a shield. He used this shield

to strike Mr. Barnett, knocking him to the ground.

        20.      As Mr. Barnett curled himself into a fetal position and laid defenseless on the

ground, Defendant Goldsmith then repeatedly punched Mr. Barnett in the face.

        21.      Defendant Goldsmith used his fingers to gouge Mr. Barnett’s eyes; inserted his

fingers into Mr. Barnett’s mouth, causing him to choke and struggle to breathe; and bent Mr.

Barnett’s fingers, causing him significant pain and fear that his fingers would break.

        22.      Defendant Thompson also participated in beating Mr. Barnett, including

repeatedly striking him in the ribs with his knee.

        23.      During this violent assault, Mr. Barnett cried out in pain and begged the

defendants to stop.

        24.      Defendants Olson, Schlachter, and Reynolds entered the cell while Mr. Barnett

was being attacked by Defendants Goldsmith and Thompson, yet none of them took any action

to protect Mr. Barnett despite having the opportunity and duty to do so.




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       25.     After Defendants removed Mr. Barnett from his cell, Defendant Goldsmith placed

Mr. Barnett in a choke hold and dragged him down the hallway of the cell block by his neck.

       26.     As Mr. Barnett was being placed in a restraint chair, Defendant Goldsmith dug his

fingers under Mr. Barnett’s jaw, causing him to choke and making it difficult to breathe.

       27.     As a result of the excessive and brutal use of force by Defendants Goldsmith and

Thompson, Mr. Barnett suffered excruciating pain and was treated for injuries to his eyes, ribs,

back, thumb, and ring finger.

       28.     Following the beating, Defendant Goldsmith and Defendant Thompson concocted

a false story in order to cover up their misconduct. They claimed that they entered Mr. Barnett’s

cell because he had tied a sheet around his neck and that when they entered in an attempt to save

his life, he took on a “boxer stance,” among other lies. Defendants included these false

statements in official reports, which they authored and signed. These false reports also

completely omit any reference to the Defendants’ use of force against Mr. Barnett.

       29.     Shortly after this incident, Mr. Barnett was transferred to another facility within

the Wisconsin Department of Corrections.

       30.     On November 13, 2018, Defendants Goldsmith and Thompson were criminally

charged in the Circuit Court of Columbia County as a result of their unlawful actions.

       31.     Defendant Goldsmith was charged with Abuse of a Resident of a Penal Facility, a

Class I Felony. Defendant Goldsmith and Defendant Thompson were both charged with Official

Misconduct for making a false entry in an official report, also a Class I Felony.

       32.     On October 4, 2019, Defendant Goldsmith was convicted of amended charges of

battery and false swearing, after entering a plea of “No Contest.” Defendant Goldsmith received

a sentence of eighteen months of probation.



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        33.    On October 4, 2019, Defendant Thompson was convicted of amended charges of

disorderly conduct and obstructing an officer, after entering a plea of “No Contest.” Defendant

Thompson received a sentence of one year of probation.

        34.    Plaintiff timely filed and served a Notice of Injury and Claim for monetary

damages, pursuant to Wis. Stat. § 893.80, with the Wisconsin Attorney General on February 15,

2019.

        35.    The Notice of Injury and Claim was deemed denied by operation of law after

allowing 120 days to elapse without receiving a formal and express disallowance of the Claim.

                                  COUNT I – 42 U.S.C. § 1983
                                     Eighth Amendment

        36.    Plaintiff repeats and realleges the forgoing paragraphs as if fully set forth herein.

        37.    Defendants Goldsmith, Thompson, Woodruff, Olson, Schlachter and Reynolds,

acting individually and jointly, violated Plaintiff Barnett’s rights under the Eighth and Fourteenth

Amendments to the United States Constitution to be free from the use of unreasonable and

excessive force.

        38.    By physically abusing Plaintiff and/or in failing to intervene to prevent such

abuse, Defendants’ actions were the direct and proximate cause of Plaintiff’s physical injuries,

pain and suffering, mental anguish, and humiliation.

                                  COUNT II – 42 U.S.C. § 1983
                                        Conspiracy

        39.    Plaintiff repeats and realleges the forgoing paragraphs as if fully set forth herein.

        40.    As described above, Defendants Goldsmith, Thompson and Woodruff agreed and

together reached an understanding, and otherwise jointly acted and/or conspired to cause

physical harm to Plaintiff and otherwise violate his rights.



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       41.     This conspiracy and the overt actions in furtherance directly and proximately

caused injury and damage as set forth above.

                                 COUNT III – State Law Claim
                                          Battery

       42.     Plaintiff repeats and realleges the foregoing paragraphs as if fully set forth herein.

       43.     The acts of Defendants Goldsmith and Thompson in striking Plaintiff and

otherwise physically abusing him were performed in a willful and wanton manner.

       44.     The acts of Defendants Goldsmith and Thompson were affirmative acts which

caused physical contact of a harmful and/or offensive nature, to which Plaintiff did not consent,

and therefore constitute battery under the laws of the State of Wisconsin.

                                 COUNT IV – State Law Claim
                           Intentional Infliction of Emotional Distress

       45.     Plaintiff repeats and realleges the forgoing paragraphs as if fully set forth herein.

       46.     In committing the acts alleged above, Defendants Goldsmith, Thompson,

Woodruff, Olson, Schlachter and Reynolds intended to cause Plaintiff emotional distress.

       47.     In doing so, Defendants’ conduct was extreme and outrageous and caused

Plaintiff severe, disabling emotional distress.

       48.     The misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of others.

       49.     As a result of this misconduct, Plaintiff sustained injuries, including emotional

pain and suffering, as is more fully alleged above.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff asks this Court to enter judgment in his favor against

Defendants Goldsmith, Thompson, Woodruff, Olson, Schlachter and Reynolds, awarding



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compensatory and punitive damages, attorneys’ fees and costs against them, as well as any other

relief this Court deems appropriate.

                                        JURY DEMAND

        Plaintiff demands a trial by jury pursuant to Federal Rule of Civil Procedure 38(b) on all

issues so triable.




Dated: March 31, 2020                         Respectfully Submitted,

                                               /s/ Ben H. Elson
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